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‘UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. ; CASE NO. 21-er-562-RC
BENJAMIN MARTIN,

Defendant.

ORDER
For good cause shown and for the reasons discussed at the Status Hearing held on this
date, it is hereby ORDERED that the Order Setting Conditions of Release (ECF No. 9) be
amended to include the following condition:

The defendant must comply with the Criminal Protective Orders issued by
the Fresno County Superior Court on January 11, 2019 and May 4,.2021.

All other conditions of release shall remain unchanged.

 

Date: (0/4 fava ff be

RUDOLPH CONTRERAS
UNITED STATES DISTRICT JUDGE
